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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VINCENT M. GASPER                            :            CIVIL ACTION
          Plaintiff                          :
                                             :            NO. 19-2676
              v.                             :
                                             :
SCHULSON COLLECTIVE, LLC,                    :
et al.                                       :
         Defendants                          :


                                        ORDER

      AND NOW, this 2nd day of October 2020, upon consideration of the parties’ joint motion

for an order approving settlement, [ECF 20], it is hereby ORDERED that the motion is

GRANTED and the parties’ Settlement Agreement, attached to the underlying motion, is

APPROVED. It is further ORDERED that this matter is DISMISSED, with prejudice.



                                         BY THE COURT:


                                         /s/ Nitza I. Quiñones Alejandro
                                         NITZA I. QUIÑONES ALEJANDRO
                                         Judge, United States District Court
